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                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SAFE&SAFETY INC. and SHENZHEN
 ZHENGMI TECHNOLOGY CO. LTD.,                          Case No. 1:24-CV-03459

         Plaintiffs,                                   Honorable John Fitzgerald Kness

 v.

 THE INDIVIDUALS AND ENTITIES
 IDENTIFIED ON SCHEDULE A TO THE
 COMPLAINT,

         Defendants.



             MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO
                       STRIKE ATTORNEYS LIEN

        Pursuant to Rule 7(b) of the Federal Rules of Civil Procedure, Plaintiffs SAFE&SAFETY

Inc. and SHENZHEN ZHENGMI TECHNOLOGY CO., LTD. (“Plaintiffs”) seek to strike the

Attorneys Lien July 7, 2024 (“LIEN”) [ECF No. 37], filed in violation of 770 ILCS 5/1.

        The LIEN claims that Shiny Rise PLLC is entitled to an attorney’s lien “against any

payments, distributions or proceeds recoverable by Plaintiffs.” [ECF No. 37]. 770 ILCS 5/1 states

in relevant part as follows:

        Attorney's lien for fees; enforcement
        § 1. Attorneys at law shall have a lien upon all claims, demands and causes of action,
        including all claims for unliquidated damages, which may be placed in their hands
        by their clients for suit or collection, or upon which suit or action has been instituted,
        for the amount of any fee which may have been agreed upon by and between such
        attorneys and their clients, or, in the absence of such agreement, for a reasonable fee,
        for the services of such suits, claims, demands or causes of action, plus costs and
        expenses. …
        To enforce such lien, such attorneys shall serve notice in writing, which service may
        be made by registered or certified mail, upon the party against whom their clients
        may have such suits, claims or causes of action, claiming such lien and stating
        therein the interest they have in such suits, claims, demands or causes of action.
        Such lien shall attach to any verdict, judgment or order entered and to any money or
        property which may be recovered, on account of such suits, claims, demands or

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       causes of action, from and after the time of service of the notice. On petition filed by
       such attorneys or their clients any court of competent jurisdiction shall, on not less
       than 5 days' notice to the adverse party, adjudicate the rights of the parties and
       enforce the lien.


       However, a statutory attorney lien ceases to be available to an attorney regarding fees

owed by a former client after the attorney’s withdrawal from representation. In re Del Grosso,

Bkrtcy.N.D.Ill.1990, 111 B.R. 178, 182, citing Rhoades v. Norfolk & Western Railway Co., 78

Ill.2d 217 (1979), In re Kleckner, 93 B.R. 143, 145 (N.D.Ill.1988); and Dept. of Public Works v.

Exchange National Bank, 93 Ill.App.3d 390, 394 (1981).

       In this case, on July 2, 2024, Plaintiffs terminated the representation of Shiny Rise PLLC.

Subsequently, Shiny Rise PLLC sent a letter titled “Termination of Engagement” to Plaintiffs on

July 3, 2024. See attached a true and correct copy of the July 3, 2024, letter from Shiny Rise PLLC

to Plaintiffs with exhibits thereto is incorporated herein and attached hereto as Exhibit A. It was

not until after both of these events, on July 7, 2024, that Shiny Rise PLLC filed and served the

LIEN. Further, a written agreement for fees existed only between Shiny Rise PLLC and Plaintiff,

Safe & Safety Inc. See attached true and correct copy of the Agreement for Legal Services between

Safe & Safety, Inc. and Shiny Rise PLLC dated February 25, 2024 (“Fee Agreement”) is

incorporated herein as Exhibit B. Notably, the Fee Agreement drafted by Shiny Rise PLLC is

limited in scope, for a three phases and “[a]ny additional services will require an additional,

separate, written agreement with additional legal fees.” Id. Safe & Safety, Inc. paid the agreed

upon flat fee under Phase I and II, Shiny Rise PLLC performed no services under Phase III and no

other written agreement between either Plaintiff and Shiny rise PLLC exists.

       Importantly, not only did no attorney relationship exist at the time Shiny Rise PLLC filed

its Notice of Lien but the agreed upon fee had been paid in full. See Exhibits A and B. Accordingly,

Shiny Rise PLLC’s Attorney’s Lien should found to be invalid and be stricken.


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         In the instant matter the Lien filed in violation of Illinois law is serving as a hinderance to

settlement. “[M]otions to strike remove unnecessary clutter from the case, they serve to expedite,

not delay.” Heller Fin., Inc. v. Midwhey Powder Co., 883 F.2d 1286, 1294 (7th Cir. 1989).

         In light of the above, Plaintiffs respectfully request that the Notice of Lien [ECF No. 37]

be declared void and stricken.

 Dated this 23rd day of August 2024.

                                              Respectfully Submitted,

                                              DRAGONFLY LAW GROUP, P.C.

                                              By: /s/ Thomas J. Nitschke
                                              Thomas J. Nitschke, IL BAR #6225740
                                              3016 Mary Kay Lane
                                              Glenview, IL 60026
                                              (720) 454-0129
                                              tomn@dflylaw.com
                                              Attorney for Plaintiffs




                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of August 2024, a true and correct copy of the foregoing

 Memorandum in Support of Plaintiffs’ Motion to Strike Attorneys Lien was filed electronically

 with the Clerk of Court using the CM/ECF system, which will send notice of electronic filing to

 all counsel of record.


                                                       /s/ Thomas J. Nitschke
                                                       Thomas J. Nitschke




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